
USCA1 Opinion

	










          December 26, 1995     [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                                    
                                  __________________
          No. 95-1496

                               ISRAEL PI EIRO-SANCHEZ,

                                Plaintiff, Appellant,

                                          v.

                       SECRETARY OF HEALTH AND HUMAN SERVICES,

                                 Defendant, Appellee.

                                                    
                                  __________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO


                 [Hon. Jaime Pieras, Jr., Senior U.S. District Judge]
                                          __________________________

                                                    
                                  __________________

                                        Before

                                Cyr, Boudin and Lynch
                                   Circuit Judges.
                                   ______________

                                                    
                                  __________________

               Raymond Rivera Esteves and Juan A. Hernandez Rivera on brief
               ______________________     ________________________
          for appellant.
               Guillermo Gill, United States Attorney, Jose Vazquez Garcia,
               ______________                          ___________________
          Assistant  United  States  Attorney,  Arthur  J.  Fried,  General
                                                _________________
          Counsel for Social Security, Randolph W. Gaines, Acting Principal
                                       __________________
          Deputy  General  Counsel for  Social  Security,  A. George  Lowe,
                                                           _______________
          Acting  Associate  General   Counsel,  Litigation  Division,  and
          Richard  Fox, Attorney,  Office  of the  General Counsel,  Social
          ____________
          Security Administration, on brief for appellee.

                                                    
                                  __________________


                                                    
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                    Per Curiam.   After Israel Pi eiro-Sanchez  (or "claim-
                    __________

          ant") was  denied an administrative  hearing to review  a partial

          denial of Social Security disability benefits, the district court

          held that the hearing  denial did not constitute a  "final" deci-

          sion for purposes  of 42 U.S.C.   405(g),1 and  that it therefore

          lacked subject  matter jurisdiction to review the decision of the

          Social Security  Administration ("SSA").  Claimant  appealed.  We

          now reverse and remand for further administrative proceedings.

                    In a Notice of  Award dated February 26, 1992,  the SSA

          determined that claimant was entitled to benefits from a disabil-

          ity onset date subsequent to that originally alleged by claimant,

          and  it reduced the requested  award accordingly.   The Notice of

          Award informed  the claimant:  "You have  60 days  to ask for  an

          appeal.   The 60 days start  the day after you  receive this let-

          ter."   The critical factual  dispute in the  case is whether the

          claimant filed a timely  appeal from this decision.   The resolu-

          tion of the dispute  turns on when claimant received  the Notice,

          and when he requested a hearing.

                    Claimant's  counsel,  Juan  Hernandez Rivera,  Esquire,

          ("Hernandez"),  avers that he did  not receive the  Notice in San

          Juan, Puerto Rico,  until March 9, 1992    12  days after the SSA

          mailed it  from Baltimore, Maryland.2   Hernandez further asserts

                              
          ____________________

               1Section  405(g) provides  that "any  final decision  of the
          Secretary made after  a hearing" is judicially  reviewable in the
          district court.  42 U.S.C.A.   405(g) (West 1991 &amp; Supp. 1995).

               2There is no indication  as to when, if ever,  claimant him-
          self received the Notice.

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          that he requested a hearing on behalf of the claimant in a letter

          dated April 28, 1992.   On the other hand, the Secretary contends

          that the  deadline  for filing  an  appeal was  May 1,  and  that

          claimant missed the  deadline because his hearing request was not

          received in the district office in Manati, Puerto Rico, until May

          7.   Consequently, in September 1992, an administrative law judge

          ("ALJ") sent a  letter to Hernandez  inquiring whether there  was

          "good cause" to excuse  the late filing.  In  response, Hernandez

          explained that he had not received the Notice until March  9, and

          that he had requested a hearing within 60 days thereafter.  

                    Ultimately, the ALJ issued  an order of dismissal after

          determining that  claimant had failed  to show  "good cause"  for

          failing to file the  hearing request on time.   Specifically, the

          ALJ found that: (1) counsel's representation that he had received

          the  Notice on  March 9  was not  credible because  mail normally
                                       ___  ________               ________

          takes no more than five days to reach Puerto Rico from Baltimore;

          and (2) counsel  probably posted  the hearing request  on May  5,
                           ________

          rather  than April 28, since  the district office  received it on
                                                             ________ __ __

          May  7.3   The ALJ  thereupon dismissed  the appeal  as untimely.
          ___  _

          Claimant then  sought review by  the Appeals Council,  which con-

          cluded  that SSA  regulations  afford no  basis for  reviewing an

          ALJ's discretionary dismissal.  See infra note 5. 
                                          ___ _____

                    District court  dismissals for  lack of  subject matter

          jurisdiction are reviewed de novo.  Torres v. Secretary of Health
                                    __ ____   ______    ___________________
                              
          ____________________

               3In contrast to the affidavit the Secretary submitted to the
          district  court, the order of dismissal lists May 3 as the filing
          deadline.

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          and Human Services, 845 F.2d 1136, 1137 n.1 (1st Cir. 1988).  The
          __________________

          parties cite to a number of inapposite authorities addressing the

          discretionary power to  deny requests  for deadline  extensions.4
                                                               __________

          Here,  however, the  question is  whether the  claimant's hearing

          request  was filed  on time  in the  first instance.   If  so, we
                              __ ____  __ ___  _____ ________

          cannot doubt  that he has  been denied his  statutory right  to a

          hearing.5  Absent controlling authority to  the contrary, we find

          that  the district court had jurisdiction under section 405(g) to

          review  the  agency decision  denying  claimant's  request for  a

          hearing in the first  instance.  See Matsibekker v.  Heckler, 738
                                           ___ ___________     _______

          F.2d 79, 81-82 (2d Cir. 1984). 

                    The  ALJ proceeded  on  the assumption  that claimant's

          request  for hearing in the  first instance was  late, then asked

          claimant to  demonstrate "good  cause" for missing  the deadline.

          The  district court  implicitly indulged  the same  assumption in

          dismissing  the  complaint.   On the  other  hand, the  record on

          appeal includes a date-stamped copy of the back of  the Notice of

          Award,  which  claimant   contends  demonstrates  that  Hernandez

          received the Notice on March 9, 1992.  The mail supervisor at the

          Hernandez  law  firm submitted  an  affidavit corroborating  this

          position  as well.    The Secretary  countered with  an affidavit
                              
          ____________________

               4See 20 C.F.R.    416.1403(8) (1995) (a denial of  a request
                ___
          to extend  the time for filing an appeal is not reviewable by the
             ______
          "Appeals Council" or by the courts).  

               542 U.S.C.A.    405(b)(1) (West  1991 &amp; Supp.  1995)   (pro-
          viding  "reasonable  notice and  opportunity  for  a hearing"  to
          review  adverse decisions);  see also  20 C.F.R.    404.909(a)(1)
                                       ___ ____
          (1995)  (describing procedure  for requesting  reconsideration of
          initial determination).

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          substantially incorporating the ALJ's "findings."  



                    On this record, the ALJ's determination that the appeal

          was  untimely filed was unreasonable and cannot stand.  We there-

          fore remand to the ALJ for further proceedings.  If the SSA seeks

          a hearing to offer  evidence that, despite the clear  implication

          of the  evidence before us, including the date stamp and the mail

          clerk's affidavit, the  appeal was  not timely filed,  we do  not

          rule out  such a hearing.6   However, the SSA may,  in the inter-

          ests of  efficiency, wish  to avoid waste  of time and  effort by

          foregoing such a hearing;  in this event, the ALJ  should proceed

          to the merits of claimant's appeal.

                    The  judgment of the district  court is vacated and the
                    _______________________________________________________

          case is remanded to the Secretary for further proceedings consis-
          _________________________________________________________________

          tent with this opinion.
          ______________________










                              
          ____________________

               6We note, however, that in addition to the evidence that the
          Notice of Award was received on March  9, 1992, the claimant also
          produced credible evidence  that he requested a  hearing on April
          28, that is, within the deadline urged by the Secretary.  The ALJ
                       ______
          appeared to believe that  a hearing request is deemed  filed when
          the  district office  receives it;  this was  error.   Dietsch v.
                                                                 _______
          Schweiker,  700 F.2d  865, 868  (2d Cir.  1983) (date  of mailing
          _________
          controls).   Moreover, the Secretary adverts to no evidence as to
          the  processing of hearing requests in  the district office, such
          as  might rule out the possibility of delay in preparing the dis-
          trict office form that reflects May 7 as the date of receipt.

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